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AO2451 (Rev. 11/16)   Judgment in a Criminal Casefora Petty Offense
                      Sheet 1                                                                                 Tr-




                                   United States District Court
                                                                                                                          /:   " 4 2017
                                                       Eastern District of Virginia
                                                                                                                      CLERK U.S. DISTRICT COURT
      UNITED STATES OF AMERICA                                        Judgment in a Criminal Case                     ^ AM vuMnRlA. VIRGINIA
                                                                      (For a Petty Offense)
                         V.


              Arthur W. Henderson                                     Case No.       1:17-po-1425(7194568, 7194569, 7194570)

                                                                      USM No.

                                                                       Shannon Quill
                                                                                                   Defendant's Attorney
THE DEFENDANT:

    THE DEFENDANT pleaded                ^ guilty • nolo contendere to count(s) 7194569
•   THE DEFENDANT was found guilty on count(s)
Tiie defendant is adjudicated guilty of these offenses:

Title <& Section                Nature of Offense                                                     Offense Ended                 Count

32 CFR 234.17 adopting          Reckless Driving                                                     6/10/2017                   7194569

VA Code 46.2-852




       The defendant is sentenced as provided in pages 2through               ^      ofthis judgment.
•   THE DEFENDANT was found not guilty on count(s)
fif Count(s) 7194568, 7194570                              • is       Sf are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, ormailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid: Ifordered
to pay restitution, thedefendant must notify thecourt and United States attorney of material changes meconomic circumstances.

Last Four Digits ofDefendant's Soc. Sec. No.: 6488                     8/4/2017
                                                                                              Date of Imposition of Judgment
Defendant's Year of Birth: 1957

City and State of Defendant's Residence:
 Alexandria, VA
                                                                                       AM.                    /s/
                                                                                                      Ivan D. Davis
                                                                                         United States Magistrate Judge

                                                                               y A<^ I?                   Date
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